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MDB\DAL: 2020R00619
jr: 11-14-2020 Nov 18 2020
IN THE UNITED STATES DISTRICT COURT AT
CLERK, y, CALTIMORE
FOR THE DISTRICT OF MARYLAND ice: DISTRI
By STRICT OF Many SRURT
UNITED STATES OF AMERICA CRIMINAL NO. GLR-20-0267
v. (Conspiracy to Distribute Controlled
Substances, 21 U.S.C. § 846;
RONALD ALEXANDER, Distribution of a Controlled Substance
THOMAS COREY CROSBY, and Possession with Intent to Distribute
MARK BRINKLEY, a Controlled Substance, 21 U.S.C. § 841;
MARK MCCOY, Possession of a Firearm by a Prohibited
JOSEPH MCCLEAN, Person, 18 U.S.C. § 922(g)(1); Possession
of a Firearm in Furtherance of a Drug
Defendants. Trafficking Crime, 18 U.S.C. § 924(c);
Aiding and Abetting, 18 U.S.C. § 2; and
Forfeiture)

 

 

SUPERSEDING INDICTMENT
COUNT ONE
Conspiracy to Distribute Controlled Substances
The Grand Jury for the District of Maryland charges that:
From a time unknown to the Grand Jury, but no later than in or about May 2020 through
on or about August 14, 2020, in the District of Maryland, and elsewhere, the defendants:
RONALD ALEXANDER,
THOMAS COREY CROSBY,
MARK BRINKLEY,
JOSEPH MCCLEAN,
did knowingly combine, conspire, confederate, and agree with each other, and with persons known
and unknown to the Grand Jury, to distribute and possess with the intent to distribute a mixture or

substance containing a detectable amount of heroin, a Schedule | controlled substance, and a

mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)piperidin-
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4-yl] propanamide, also known as fentanyl, a Schedule II controlled substance, a mixture or
substance containing a detectable amount of cocaine, a Schedule II controlled substance, and a
mixture or substance containing a detectable amount of cocaine base, a Schedule II controlled
substance, in violation of 21 U.S.C. § 841.in violation of 21 U.S.C. § 841.
21 U.S.C. § 846
QUANTITY OF CONTROLLED SUBSTANCES DISTRIBUTED IN CONSPIRACY

With respect to RONALD ALEXANDER, THOMAS COREY CROSBY, MARK
BRINKLEY, and JOSEPH MCCLEAN, the amount involved in the conspiracy attributable to
each of them as a result of their own conduct, and the conduct of other conspirators reasonably
foreseeable to them, is 100 grams or more ofa mixture or substance containing a detectable amount
of heroin, a Schedule I controlled substance, 40 grams or more of N-phenyl-N-[1-(2-
phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a Schedule II controlled
substance, and a mixture or substance of detectable amount of cocaine, a Schedule II controlled
substance.

PRIOR CONVICTION NOTICE PURSUANT TO 21 U.S.C. § 851

Before RONALD ALEXANDER committed the offense charged in Count One of this
Superseding Indictment, RONALD ALEXANDER had a final conviction for a serious drug
felony, specifically, a conviction under 21 U.S.C. § 846 (Conspiracy to Distribute and Possess
With Intent to Distribute Heroin), for which he was sentenced to a term of imprisonment of 240
months and a period of supervised release of 4 years with a Final Judgment entered on January 22,

2002 by the United States District Court for the District of Maryland, and thus and thereafter served
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more than 12 months of imprisonment and for which he was released from serving any term of
imprisonment related to that offense within 15 years of the commencement of the instant offense.

Before THOMAS COREY CROSBY committed the offense charged in Count One of
this Superseding Indictment, THOMAS COREY CROSBY had a final conviction for a serious
drug felony, specifically, a conviction under 21 U.S.C. § 841 (Possession with Intent to Distribute
Heroin), for which he was sentenced to a term of imprisonment of 96 months and a period of
supervised release of 4 years with a Final Judgment entered on March 1, 2010 by the United States
District Court for the District of Maryland, and thus and thereafter served more than 12 months of
imprisonment and for which he was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.
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COUNT TWO
Distribution of a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about July 1, 2020, in the District of Maryland, the defendant,
JOSEPH MCCLEAN,

did knowingly and intentionally distribute a mixture or substance containing a detectable amount
of heroin, a Schedule I controlled substance, and a mixture or substance containing a detectable
amount of N-phenyl-N-[1-(2-phenylethy])piperidin-4-yl] propanamide, also known as fentanyl, a
Schedule II controlled substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. §2
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COUNT THREE
Distribution of a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about July 8, 2020, in the District of Maryland, the defendant,
JOSEPH MCCLEAN,

did knowingly and intentionally distribute a mixture or substance containing a detectable amount
of N-phenyl-N-[1-(2-phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a
Schedule II controlled substance, and a mixture or substance containing a detectable amount of

heroin, a Schedule I controlled substance.
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COUNT FOUR
Distribution of a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about July 14, 2020, in the District of Maryland, the defendant,
JOSEPH MCCLEAN,

did knowingly and intentionally distribute a mixture or substance containing a detectable amount
of N-phenyl-N-[1-(2-phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a
Schedule II controlled substance, and a mixture or substance containing a detectable amount of

heroin, a Schedule I controlled substance.

21 U.S.C. § 841(a)(1)
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COUNT FIVE
Distribution of a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about July 21, 2020, in the District of Maryland, the defendant,
JOSEPH MCCLEAN,

did knowingly and intentionally distribute a mixture or substance containing a detectable amount
of N-phenyl-N-[1-(2-phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a
Schedule II controlled substance, and a mixture or substance containing a detectable amount of
heroin, a Schedule I controlled substance.

21 U.S.C. § 841(a)(1)
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COUNT SIX
Possession with Intent to Distribute a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about July 23, 2020, in the District of Maryland, the defendant,
MARK BRINKLEY,

did knowingly and intentionally possess with intent to distribute 100 grams or more of a mixture
of substance containing a detectable amount of heroin, a Schedule I controlled substance, 40 grams
or more of a mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a Schedule II controlled
substance, and a mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance.

21 U.S.C. § 841(a)(1)
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COUNT SEVEN
Distribution of a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about July 30, 2020, in the District of Maryland, the defendant,
JOSEPH MCCLEAN,

did knowingly and intentionally distribute a mixture or substance containing a detectable amount
‘ of heroin, a Schedule I controlled substance, and a mixture or substance containing a detectable
amount of N-phenyl-N-[1-(2-phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a
Schedule II controlled substance.
21 U.S.C. § 841(a)(1)

18 U.S.C. §2
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COUNT EIGHT
Possession of a Firearm by a Prohibited Person
The Grand Jury for the District of Maryland further charges that:
On or about August 14, 2020 in the District of Maryland, the defendant,
MARK MCCOY, °
knowing he had been previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed a firearm to wit, one Smith & Wesson. 40 caliber pistol
bearing serial number RAX7112, and the firearm was in and affecting commerce.

18 U.S.C. § 922(g)(1)

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COUNT NINE
Possession with Intent to Distribute a Controlled Substance
The Grand Jury for the District of Maryland further charges that:
On or about August 14, 2020, in the District of Maryland, the defendant,
MARK MCCOY,
did knowingly and intentionally possess with intent to distribute a mixture of substance containing
a detectable amount of cocaine and a detectable amount of cocaine base, a Schedule II controlled

substance.

21 U.S.C. § 841(a)(1)

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COUNT TEN
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
The Grand Jury for the District of Maryland further charges that:
On or about August 14, 2020, in the District of Maryland, the defendant,
MARK MCCOY,
did knowingly possess a firearm, that is, one Smith & Wesson. 40 caliber pistol bearing serial
number RAX7112, in furtherance of a drug trafficking crime for which he may be prosecuted in a
court of the United States, that is, Possession with Intent to Distribute a Controlled Substance, as
charged in Count Nine of this Superseding Indictment, which is incorporated by reference herein.
18 U.S.C. § 924(c)(1)(A)
PRIOR CONVICTION NOTICE

Before MARK MCCOY committed the offense charged in Count Ten of this Superseding
Indictment, MARK MCCOY had a final conviction under 18 U.S.C. § 924(c)(1)(A) for which he
was sentenced to a term of imprisonment of 60 months and a period of supervised release of 5
years with a Final Judgment entered on August 2, 2013 by the United States District Court for the
District of Maryland.

18 U.S.C. § 924(c)(1)(A)

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FORFEITURE
The Grand Jury for the District of Maryland further charges that:

Pursuant to Title 21, United States Code, Section 853, upon conviction of an offense in
violation of Title 21, United States Code, Section 841, the defendants, RONALD ALEXANDER,
MARK BRINKLEY, THOMAS COREY CROSBY, JOSEPH MCCLEAN, and MARK
MCCOY, shall forfeit to the United States of America any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as the result of such offense[s] and any property used,
or intended to be used, in any manner or part, to commit, or to facilitate the commission of, the
offense(s).

Z, If any of the property described above, as a result of any act or omission

of the defendant(s]:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e: has been commingled with other property which cannot be divided

without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p).

21 U.S.C. § 853
28 U.S.C. § 2461(c)

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Robet A. Nur shy

Robert K. Hur
United States Attorney

A TRUE BILL:
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